Case 1:20-cv-00052-SPW Document 267-11 Filed 09/27/23 Page 1 of 10

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July 27, 2023

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Re: Tracy Caekaert and Camillia Mapley v. Watchtower Bible and Tract Society of
New York, Inc., et al.
USDC Billings Division 20-CV-52-SPW-TJC
File No. 78280.001

Ariane Rowland and Jamie Schulze v. Watchtower Bible and Tract Society of
New York, Inc., et al.

USDC Billings Division 20-CV-59-SPW-TJC

File No. 78280.002

Counsel:

*also licensed in
North Dakota | Thank you for your continued efforts in regards to arranging the Rule 35, Fed. R. Civ.

P., mental examinations by Michael Biitz, PhD. In response to Ms. Gannon’s letter from
June 30, 2023, and the proposed revised Memorandum of Agreement, we believe we

EXHIBIT

11

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Brown Law Firm, B.C.
July 27, 2023
Page 2 of 2

have unfortunately reached an impasse and will need to request the assistance of the Court. |
have enclosed Dr. Biitz’s July 17, 2023, letter providing his estimate of travel costs and
responding to your requested revisions to the Memorandum of Agreement. In our opinion, the
conditions you are attempting to place on Dr. Bitz do not provide him with a reasonable level of
deference considering his clinical expertise, and in many respects the conditions are contrary to
the law and ethics rules of practicing psychologists.

We are prepared to file a Motion for Order Directing Rule 35 Exams. After you review Dr.
Biitz’s letter and supporting materials, please let us know by next Wednesday August 2nd at
noon whether you believe there are additional areas upon which we can agree. Otherwise, [ will
assume Plaintiffs object to the Motion and will advise the Court accordingly. | would also
appreciate if you would let me know we are at least in agreement regarding the travel costs
Plaintiffs have agreed to cover for Dr. Btitz’s proposed travel to Australia and Arkansas.

Sincerely,

Brett C. Jensen
BCI

ce: Joel M, Taylor (via e-mail);
Gerry Fagan, Christopher Sweeney, Jordan Fitzgerald (via e-mail)
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July 17, 2023

Brett C. Jensen, Esq.

Brown Law Firm, PC.

315 North 24 Street

P.O. Drawer 849

Billings, Montana 59103-0849

RE: Correspondence regarding request for evaluations of Plaintiffs, Rule 35, Caekaert & Mapley v.
Watchtower Bible and Tract Saciety of New York, inc., et al. and Rowland & Schulze v. Watchtower
Bible and Tract Society of New York, Inc., et al. (Letter 6.30.23 with MOA Red-Lined, Email
7.11.23).

Dear Mr. Jensarr

We have been in correspondence since May 8" on these matters, as you are no doubt aware.
Responding to the recent correspondence above took an extra measure of time given the realistic
complications af more specific descriptions of practice and travel to another state and another
country. | have cone my best to address these matters in an orderly, reasonably comprehendible
fashion. Regarding practice and travel, | believe you have our Standard Forensic Financial Policy,
but te assure clear communication | have included it with this letter (see attached). Working
through the latter oenned by Ms. Gannon, | will address her comments paragraoh by paragravh,
and this begins with the ‘ocations of Ms. Mapley and Ms. Caekaert.

As you are aware iis. iVianpley lives in Mansfield, Victoria, Australia and plainly practice and travai
considerations are far jram customary and have required thoughtful consideration and review.
Also, travel to Searcy, Arkansas is not as straightforward as one might think, in fact flights to che
lacation are exorbitant. So, these two aspects of the examination process will be provided
headers to s2! them, acart for each olaintiff.

Mdansfield, Vicroria, Australia

According ta the research i have done, there are a number of costs involved and case work to he
done in ordes tc be able to sractice in, and travel ta, Mansfield. My research suggests that | wou'd
be able to ce icensea to practice in Australia after reading through their processes, and the
straightYorvcsrd cosvs associated with this for fees and licensure will be approximately $750 USO
nating the e“sange vate when | worked this uo was AUD (0.68) to USD (1.0).! in addition, it woud
take approximately a day of work to assemble all the paperwork ($1600) and correspond with ine
Ssychology Boga Oo! Acscvalia to achieve this. Preliminary research suggests that | will not need s
visa for the caer: duraticn of work there, It is estimated that this process may take between tua

Sor Board of Pact *h38 st KJstracie’s insiru cons joe overseas applicants see:

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P.O. Box 81546, Billings, MT 59108
Phone (406) 294-9677 @ Fax (406) 371-5535 & www AspenPractice.net
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and three months to accomplish based on prior experience with being licensed in other states
here in the United States, and then adding several weeks given the unique nature of the situation.
So, the cost of licensing will be roughly $2350.

As for time there, and travel, it essentially takes a day or more to travel to Australia, and flying
there you also lose a day. Thus, while the flight would leave on the 10*, Tuesday, it would not
‘arrive’ until the 12", Thursday (see Appendix A). My office would charge for a standard business
day for this travel each way as well as whatever part of another day is involved ($3200 +) per our
Standard Forensic Financial Policy. Then, adjusting for complications that may occur during travel,
assuring that arrangements were in place for a conference room, etc. and jet lag, a minimum of
three days on-site would be required. How long those days would be is unknown at this point in
time, but | regularly work ten, twelve, or more hours a day when involved in the direct service of
remotely conducting examinations, scoring, interpreting and writing reports. | am assuming that
one day will be resting up from the journey there and organizing myself (Thursday, the 12"), and
two days will be long (Friday and Saturday, the 13‘ and 14'*), so perhaps an eight-hour day and
two ten-hour days ($5600).

The time frame assumed for travel is mid-October, flights on the 10 and the 15", and then stay
in Mansfield October 12-14, and these dates have been used to calculate costs. The closest large
city is Melbourne, and flights there noting the duration of travel with business class run
approximately $10,000 to $11,000 (see Appendix A) - and note that with transporting testing
equipment there may be additional baggage fees. Rental cars run between $75 and $100 a day,
and use would be for three and a half days.

Hotels run roughly $100 a night for October 12-14 (Alzberg Hotel or the Mansfield Hotel), but
each of these accommodations has one or two conference rooms and the cost of one of these
rooms is unclear but presumed to be equivalent to a hotel room at $100 a night. If neither will
work due to the conference room or hotel room not being available there is another site within
thirty minutes of Mansfield too (Sebel Pinnacle Valley @ roughly $150 per night, etc.). Then, of
course, meals and other typical travel expenses would be involved from day one through day five.

All tolled the estimated cost of practice in Australia, and travel there, would run $23,000 +/-.

Searcy, Arkansas

As for practice in Arkansas, | have applied to a reciprocal licensing service through the Association
of State and Provincial Psychology satis and expect to hear from them any day about the status
of my application. Since this would prove useful in other cases, and is not associated solely with
this case, | have viewed this application and case work as a cost of doing business.

It is anticipated that this journey will have similar assumptions for travel and work costs, and
despite being here in the United States it will still take four days, given the two days needed for
the examination. Two for travel given the oddity of arrival times and the logistical situation that
will be described momentarily, and two for the examination. Logistics proved more complicated
in getting to Searcy than anticipated, and while Little Rock, Arkansas is geographically closer as

Butz Response ~ Correspondence ‘Request for Evaluations’
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the crow flies (50 miles away), the cost to fly into it is stunningly over double what it costs to fly
into Memphis, Tennessee (106 miles away). So, the flight proposed is for Memphis at roughly
$1400, and again note that with transporting testing equipment there may be additional baggage
fees (see Appendix B). Since Little Rock is forty-five minutes away from Searcy, rather than an
hour and a half, it is proposed that | stay in Little Rock where | will be able to obtain a hotel with
an adequate number of potential conference rooms so that obtaining one will not be a problem.
Hotel costs in Little Rock are $150-200, and it is assumed that renting out a conference room will
be a similar cost. Rental cars out of Memphis are roughly $50 to $100 a day. Then, of course,
meals and other typical travel expenses would be involved from day one through day four.

All tolled the estimated cost of professional time and travel to Searcy would run $8,606 +/-.

Ms. Gannon’s #3

Given the considerations above, this paragraph now turns to the decision of whether or not Ms.
Caekaert choses to travel to Billings and be assessed or prefers to be assessed in Searcy. Plainly,
there is little to remark on here other than notice of her intentions well in advance of the
proposed dates for the assessment to take place.

There is no #4, and Ms. Gannon’s comments move on to #5 on Page 2 of her letter.

Ms. Gannon’s #5
it is hoped the responses above to #1 and #2 in her letter has sufficiently described: “...cut of
pocket costs associated with the examinations.”

Ms. Gannon’s #6

These will be academic, cognitive and personality assessment instruments. | did take note of the
red line second sentence of the #6 in the MOA, and | would advise that the examination and
testing not be imposed upon, nor suggested, by plaintiff’s attorneys. Instead, in my opinion the
examination ought to be conducted in accordance with what was provided before:

“the subject examinations will be to determine the existence, nature, and extent of the
psychological conditions Plaintiffs have placed at issue in the above causes of action by
claiming injuries and damages secondary to various instances of childhood sexual abuse.”

Ms. Gannon’s #7

Here, simply | would suggest holding firm to what has been stated in the MOA and rely upon
Kaufmann and Morel’s guidance on these matters. Further, | am not willing to release test raw
data to those who do not have the appropriate level of training, supervision and experience to
interpret it in the scientific manner intended by instruments/tests’ - developers/publishers. This
would be an ethical breech on my part as specifically spoken to by the American Psychologica!
Association’s Ethical principles of psychologists and code of conduct? and the laws of the state of

2 American Psychological Association. (2017). Ethical principles of psychologists and code of conduct. American
Psychological Association.

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Montana as specified by Administrative Rules of Montana (ARM) under Unprofessional Conduct,
and the Practice of Psychology (ARM § 24.189.2305 (9}}. What is more, in this case specifically
‘basic capacities’ to perform psychological assessment would not suffice’, since this case involves
a Specific area of expertise, and for the fact that this is, by its very definition, a forensic case. Each
area requires years of additional, focused, training, supervision, and experience to accurately
interpret, and analyze, the test raw data that may emerge if these assessments are conducted.

Later in this paragraph, but set apart in the MOA under #8, there is a request for the name and
version of each instrument/test that will be administered. This is standard practice and will, as
per custom and scientific convention, be included in the report. It is also customary that breaks
in an assessment process are marked by an evaluator in their notes. Accommodating the
additional request of start and stop times for each measure administered would not be any
trouble and is agreeable.

Ms. Gannon’s #8

She revisits the prospect of not only recordation, but also of having an observer in the room. Se.
first of all, let's be clear on the American Psychological Association’s stand on this matter under
the aforementioned Ethics Code (2017) as revisited by the National Academy of Neuropsychology
{(NAN) 20037).

“According to Code $9.04:

Test data ‘refers to raw and scaled scores, client/patient responses to test questions or
stimuli, and psychologists’ notes and recordings concerning client/patient statements and
behavior during the examination.? Those portions of test materials that include
client/catient resnonses are included in the definition of test data.”

Also, let me offer an excerpt from a manuscript in the final revision process for publication® in
order to addrass this matter in the most straightforward manner possible.

“Both the American Board of Professional Neuropsychology (ABN) and the NAN have
made ciear statements against such practices (audio and video recording of assess-rrants]
(Axelrod, et al., 2000; Lewandowski, et al., 2016). As such, if this remedy is pressed, the
video recording should be proactively delineated under a protective order limiting either
the scope of the recording to aspects of the assessment that do not involve test raw data
or protocol queries. Or, another sossibility is that access should be lim‘ted to a duly

® Society for Personaity Assessment. (2006). Standards for education and training in psychologica; assessment:
Position af ine Society for Personality Assessment. Journal of Personality Assessment, 87 (3), 325-357.
BELLS UL ace hE LEST /si S327 7S2inaB7OS 17

* National Academy of Neuropsychology, Policy and Planning Committee (2003). Test security: An update, official
statement af the National Academy of Neuropsychology, National Academy of Neuropsychology.

* italics added for emphasis.

® Bitz, M. R. Erglish, 1. 4. Meyers, 1 &. & Cohen, L. J. (in revision). Threats to the integrity of Pevchological
Assessment: The Misuse of Test Raw Date and Materials. Unpublished manuscript.

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credentialed evaluator, and specifying that the recording be returned to the original
evaluator and/or destroyed. Again, this path is fraught (Morel, 2009}, and we recommend
following the advisories of the ABN and the NAN (Axelrod, et al., 2000; Lewandowski, et
al., 2016).”

1, therefore, stand by my earlier proposals generally. Though, | do see that mv earlier intentions
were not so clear in terms of providing for audio recording of the informed consent process, the
plaintiff’s general understanding the nature of the case (why they are being assessed), the social
history, and mental status interview. These are the portions of the assessment that an audio
recording, in my view, would be permissible. At the same time, | am also of the opinion that the
process my colleagues and | have outlined above be put in place in this case: wherein this audio
recording is treated as test raw data, the recording put under a protective order, and oniv to be
accessed by a duly credential evaluator (as spoken to above).

As described in earlier correspondence, Ms. Gannon’s assertions about
unintentional/inadvertent disclosures remain puzzling, particularly in light of her statement:
“athe possibility of unintentional/inadvertent disclosures of privileged communication by
Plaintiffs, who are not trained in understanding what may or may not be privileged.” The apparent
solution is to counsel and/or train plaintiffs rather than proposing the capacity to redact
statements from the comoleted assessment report.

Last, while it is agreeable to note breaks and when instruments/tests are started and stopped.
time-stamping the recording does offer one more intrusion into the assessment process which is
not agreeadie. An evaluator’s job is to conduct an assessment, not serve as a time monitor unless
it serves a clinical purpose.

Ms. Gannon’s #9
Please see above.

Further Comments on Red-Lined MOA
On Page 1, for anparent reasons per the comments above, | would not advise agreeing to the rec-
line througn Paragraph #2.

Page 2

Paragraph #3

No comment on insertions generally, other than the assessment will be months in planning.
Therefore, there is a need for a definitive answer and then dates of examination provided months

in advance.

Paragraoh #4
Understood, and noted.

Bitz Response — Correspondence ‘Request for Evaluations’
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Paragraph #5

Here, it is evident that a smail practice such as my own would be unduly burdened by $31,600
paid out with the potential of the bill being argued/debated in Court over weeks or months. It is
proposed that if these costs are unacceptable with the ‘upon receipt’ suggestion, then these costs
should be paid in advance in accordance with the arrangements that have been described earlier
and our Stendard Forensic Financial Policy.

Paragraph #6
See earlier comments.

Page 3

Paragraon a7
See earier comments.

Paragraph #2
See earlier comments.

Paragraph ao
See earlier comments.

Paragragn #10
See earlier comments.

it is my howe that this letter addresses the matters raised previously, the attached letter on the
30° af june from Ms. Gannon, and your email on the 11" of July As always, if there are any

chad) » PRB.
Fellow American Pic Assaciation

Licenséd Psvcnopis
Montaba #355

wyoming #813
att: 9 Stercura Forensic Financial Policy.

MC! File.

Butz Response -- Correspondence ‘Request for Evaluations’
Case 1:20-cv-00052-SPW Document 267-11 Filed 09/27/23 Page 9 of 10

Appendix A
Flight to Melbourne, Victoria, Australia

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Butz Response — Corresoondence ‘Request for Evaluations’
Case 1:20-cv-00052-SPW Document 267-11 Filed 09/27/23 Page 10 of 10

Appendix B
Flight to Searcy, Arkansas by Way of Memphis, Tennessee

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